         Case 1:19-mc-00058-BAH Document 18 Filed 06/24/19 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN RE REQUEST TO MAKE PUBLIC LIST OF                  Miscellaneous Action No. 19-58
 INVESTIGATIVE MATTERS RELATED TO
 SPECIAL COUNSEL’S INVESTIGATION                       Chief Judge Beryl A. Howell




                                             ORDER

       On May 16, 2019, Cable News Network, Inc. (“CNN”) and its journalist, Katelyn

Polantz, requested that the Court “make public a list of the miscellaneous matters before this

Court that were initiated by the Office of Special Counsel or otherwise involved the Office

during its investigation into Russian interference in the 2016 presidential election.” See Letter

from CNN (May 16, 2019) (“CNN Ltr.”) at 1, ECF No. 2. CNN sought the release of dockets

for “all non-grand jury subpoena matters, search warrant applications and orders, applications

and orders for communication records, applications and orders authorizing use of pen registers,

requests for assistance to foreign governments, and any other matters in which the Special

Counsel sought assistance or authorization from this Court.” Id. For those dockets, CNN asked

that the “Court publicly release as much information . . . as possible” and “that, at a minimum,

this Court make public the case numbers, filing dates, and captions of the above referenced

matters.” Id. at 2.

       CNN’s requests correlate with disclosures made in the report issued by Special Counsel

Robert S. Mueller, III on Russian interference with the 2016 presidential election, which report

indicated that:

              During its investigation the [Special Counsel’s] Office issued more than
       2,800 subpoenas under the auspices of a grand jury sitting in the District of
                                              1
          Case 1:19-mc-00058-BAH Document 18 Filed 06/24/19 Page 2 of 4




        Columbia; executed nearly 500 search-and-seizure warrants; obtained more than
        230 orders for communications records under 18 U.S.C. § 2703(d); obtained almost
        50 orders authorizing use of pen registers; made 13 requests to foreign governments
        pursuant to Mutual Legal Assistance Treaties; and interviewed approximately 500
        witnesses, including almost 80 before the grand jury.

Robert S. Mueller, Report on the Investigation into Russian Interference in the 2016 Presidential

Election (Mar. 2019) at Vol. I, p. 13.1

        On May 20, 2019, the Court provided the government with access to lists of limited

information about sealed dockets related to the Special Counsel’s investigation and directed the

government to notify the Court by May 28, 2019 of any objections to release of that information.

Min. Order (May 20, 2019). Shortly after, the government advised that it did not object to the

release of “the vast majority of that information.” See Gov’t’s Status Report, ECF No. 11. Still,

the government identified “a few entries on the lists that the government may request be redacted

from a public release to protect ongoing law enforcement interests.” Id. The government was

given additional time to propose redactions. Min. Order (May 28, 2019). A few weeks later, the

government sought leave to file an ex parte submission with additional redactions. Gov’t’s Mot.

to Submit Material Ex Parte, ECF No. 16. After granting that motion, see Min. Order (June 20,

2019), the Court reviewed the government’s proposed redactions.

        Upon review of the government’s submission, the government’s proposed redactions will

be applied to the lists of limited information about sealed dockets to protect the integrity of

ongoing investigations. With those additional redactions, the Court will release limited docket




1
         Attorney General William P. Barr’s March 24, 2019 letter to Congress similarly summarized both the types
and volume of investigative orders that the Special Counsel sought. See Letter from Attorney General William P.
Barr to Senator Lindsey Graham, et al. (Mar. 24, 2019).
                                                        2
          Case 1:19-mc-00058-BAH Document 18 Filed 06/24/19 Page 3 of 4




information for sealed non-grand jury matters, including case numbers, filing dates, and redacted

captions, related to the Special Counsel’s investigation.2

        As CNN notes, disclosing this information accords with this Court’s practice of

publishing appropriately limited information about sealed dockets, CNN Ltr. at 2, and with the

common law right of “access to the [pen register and/or trap and trace devices], § 2703(d) and

[Stored Communications Act] warrant matter docket information,” In re Appl. Of Jason Leopold

to Unseal Certain Elec. Surveillance Applications & Orders, 300 F. Supp. 3d 61, 97 (D.D.C.

2018). Indeed, biannually, this Court unseals limited docket information for otherwise sealed:

(1) applications filed by the U.S. Attorney’s Office for the District of Columbia (“USAO-DC”)

to obtain communications records, under 18 U.S.C. § 2703(a)–(d); (2) applications filed by the

USAO-DC for orders to use pen register and/or trap and trace (“PR/TT”) devices, under 18

U.S.C. §§ 3122 and 3123(b); and (3) applications by the Office of International Affairs (“OIA”)

of the Criminal Division of the U.S. Department of Justice to obtain communications records,

under 18 U.S.C. § 2703(d), related to requests made under 18 U.S.C. § 3512. See, e.g., Orders

and Notices, In re Appl. of Jason Leopold to Unseal Certain Electronic Surveillance Appl. and

Orders, No. 13-mc-712 (Sept. 21, 2016, Feb. 22, 2017, and Apr. 24, 2017), ECF Nos. 22, 32,

and 37; Order and Notice, In re Disclosure of Pen Registers from January 1, 2017 through

September 30, 2017, No. 18-mc-61 (Apr. 30, 2018), ECF No. 1; Standing Order No. 18-46,

Disclosure of Limited Docket Lists for Certain Sealed Appl. Filed by USAO-DC (Oct. 2, 2018);

Standing Order No. 18-48, Disclosure of Limited Docket Lists for Certain Sealed Appl. Filed by



2
       The Special Counsel’s 13 requests for assistance from foreign governments are just that: requests to foreign
governments. Consequently, these requests do not generate a docket in this Court.
                                                        3
           Case 1:19-mc-00058-BAH Document 18 Filed 06/24/19 Page 4 of 4




OIA (Oct. 16, 2018); Standing Order No. 19-15, Disclosure of Limited Docket Lists for Certain

Sealed Appl. Filed by USAO-DC (Apr. 3, 2019); Standing Order No. 19-17, Disclosure of

Limited Docket Lists for Certain Sealed Appl. Filed by OIA (Apr. 17, 2019).

          Accordingly, for the foregoing reasons, it is hereby

          ORDERED that the list of 499 dockets, with some limited associated information, for

applications for search warrants under Federal Rule of Criminal Procedure 41 and applications

for orders under 18 U.S.C. § 2703(a)–(c), attached hereto as Attachment A, be unsealed; and it is

further

          ORDERED that the list of 179 dockets for applications for orders under 18 U.S.C.

§ 2703(d), attached hereto as Attachment B, be unsealed; and it is further

          ORDERED that the list of 21 dockets for PR/TT applications for orders under 18 U.S.C.

§§ 3122 and 3123(b), attached hereto as Attachment C, be unsealed3; and it is

          ORDERED that the Clerk of the Court make publicly accessible this Order with

attachments on the appropriate location of this Court’s website.

          SO ORDERED.

          Date: June 24, 2019

                                                            __________________________
                                                            BERYL A. HOWELL
                                                            Chief Judge




3
       Although 21 dockets were opened for PR/TT applications, after including extensions, the Court entered 49
PR/TT orders.
                                                       4
